Case 1:23-cr-00006-HCN        Document 50      Filed 04/30/25     PageID.202      Page 1 of 1




FELICE JOHN VITI, Acting United States Attorney (7007)
CAROL A. DAIN, Assistant United States Attorney (10065)
TRAVIS K. ELDER, Assistant United States Attorney (11987)
Attorneys for the United States of America
111 South Main Street, Ste. 1800 | Salt Lake City, Utah 84111
T: 801.524.5682 | F: 801.325.3310 | Travis.Elder@usdoj.gov

                    IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH

 UNITED STATES OF AMERICA,
                                                 NOTICE OF WITHDRAWAL
                       Plaintiff,                OF COUNSEL

 vs.                                             Case No. 1:23-CR-00006-HCN

 TADASHI KURA KOJIMA, aka AARON
                                                 Howard C. Nielson, Jr.
 MICHAEL ZEMAN,
                                                 United States District Judge
                       Defendant.

       Travis K. Elder, Assistant United States Attorney, hereby withdraws as counsel for

the United States of America, and waives any requirements to continue to receive notice

from opposing counsel and from the court filings in this case subsequent to this notice,

including the final judgment which closes this case. This request includes removal from

the service list. All other attorneys currently representing the United States in this matter

shall continue such representation.

       Respectfully Submitted,
                                           FELICE JOHN VITI
                                           Acting United States Attorney
                                           /s/ Travis K. Elder
                                           TRAVIS K. ELDER
                                           Assistant U.S. Attorney
